

Matter of Laxton (2023 NY Slip Op 05440)





Matter of Laxton


2023 NY Slip Op 05440


Decided on October 26, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:October 26, 2023

PM-248-23
[*1]In the Matter of Harry Lee Laxton Jr., an Attorney. (Attorney Registration No. 5447776.)

Calendar Date:October 23, 2023

Before:Garry, P.J., Clark, Reynolds Fitzgerald, Ceresia and Powers, JJ.

Harry Lee Laxton Jr., Winnsboro, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Harry Lee Laxton Jr., was admitted to practice by this Court in 2016 and lists a business address in Winnsboro, Texas with the Office of Court Administration. Laxton now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Laxton's application.
Upon reading Laxton's affidavit sworn to September 18, 2023 and filed September 20, 2023, and upon reading the October 18, 2023 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Laxton is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Garry, P.J., Clark, Reynolds Fitzgerald, Ceresia and Powers, JJ., concur.
ORDERED that Harry Lee Laxton Jr.'s application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Harry Lee Laxton Jr.'s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Harry Lee Laxton Jr. is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Laxton is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Harry Lee Laxton Jr. shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








